Case 2:25-cv-00197-JCZ-DPC Document 43-1 Filed 03/09/25 Pagel1of4

UNITED STATES DISTRICT COURT
for the
Eastern District of Louisiana

HIRAN RODRIGUEZ
) CIVIL ACTION NO. 25-197
Plaintiff(s) DIVISION: A(2)
JUDGE JAY C. ZAINEY
v. ) | MAG. JUDGE DONNA PHILLIPS CURRAULT

META PLATFORMS, INC., ET AL,

Defendant(s)

NOTICE OF SUBMISSION
Case 2:25-cv-00197-JCZ-DPC Document 43-1 Filed 03/09/25 Page 2of4

TO THE HONORABLE COURT:

PLEASE TAKE NOTICE that Plaintiff, Hiran Rodriguez, hereby submits the following motions

for consideration by the Court:

1. Motion for Judicial Notice of Delaying Tactics and Bad Faith

¢ Requesting the Court to take judicial notice of Defendants’ pattern of delay and bad faith

conduct.

¢ Filed on March 9, 2025.

2. Motion for Sanctions: Punishing Frivolous Filings

¢ Seeking sanctions against Meta Platforms, Inc., Jefferson Parish, and Jefferson Parish Sheriff's

Office for filing baseless and obstructive motions.

¢ Filed on March 9, 2025.

3. Opposition to Meta’s Motion for Extension

° Opposing Meta’s request for an extension of time to respond to the Complaint and requesting

denial of the motion.

¢ Filed on March 9, 2025.

4, Motion to Strike Jefferson Parish’s Motion to Dismiss
Case 2:25-cv-00197-JCZ-DPC Document 43-1 Filed 03/09/25 Page 3of4

¢ Requesting the Court to strike Jefferson Parish’s Motion to Dismiss due to improper service

arguments lacking a legal basis.

¢ Filed on March 9, 2025.

Hearing Date:

Plaintiff respectfully requests that the Court schedule a hearing on these motions at the earliest

available date or include these matters in the next scheduled hearing.

Service:

This Notice of Submission has been served electronically on all Defendants who have made an

appearance on the record as of March 9, 2025.

CERTIFICATE OF SERVICE

I, Hiran Rodriguez, hereby certify that a true and correct copy of the foregoing Notice of
Submission was served on all Defendants who have made an appearance on the record by

electronic service on March 9, 20235.
Case 2:25-cv-00197-JCZ-DPC Document 43-1 Filed 03/09/25 Page4of4

Defendants who have not yet made an appearance are in the process of being served by the U.S.

Marshal Service with the summons and complaint.

Respectfully submitted,

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Hiran Rodriguez, Plaintiff, Pro Se
820 Grove Avenue, Metairie, Louisiana, 70003-7024

Email: hiranrodriguez@outlook.com

Date: March 9, 2025
